558 F.2d 132
    James Burnett McKay LAING, Plaintiff-Appellant,v.UNITED STATES of America, John M. Walters, Commissioner ofInternal Revenue Service, Fulton D. Fields, DistrictDirector of Internal Revenue Service, District of Vermont,James R. Perry, Chief of Collection Division, District ofVermont, Defendants-Appellees.
    No. 707, Docket 73-2537.
    United States Court of Appeals,Second Circuit.
    June 27, 1977.
    
      Martin G. Weinberg, Crane, Inker &amp; Oteri, Boston, Mass., Duncan Kilmartin, Rexford &amp; Kilmartin, Newport, Vt., for plaintiff-appellant.
      Bennet N. Hollander, Robert S. Watkins, Tax.  Div., Dept. of Justice, Washington, D. C., George W. F. Cook, U. S. Atty., Dist. of Vermont, Rutland, Vt., for defendants-appellees.
      Before FRIENDLY and TIMBERS, Circuit Judges, and THOMSEN, District Judge.*
      PER CURIAM:
    
    
      1
      The Supreme Court, in its opinion of January 13, 1976, 423 U.S. 161, reversed our judgment of May 2, 1974, 496 F.2d 853, and remanded the case to us for further proceedings in conformity with the opinion of the Supreme Court.
    
    
      2
      Pursuant to the Supreme Court's mandate which was received by our Court on February 20, 1976, we entered an order on the same date vacating our judgment of May 2, 1974.
    
    
      3
      Having been recently advised that the parties filed in the district court on July 22, 1976 a stipulation that the action be dismissed, we remand the case to the district court with instructions to enter a judgment in accordance with the opinion of the Supreme Court and giving effect to the stipulation of the parties.
    
    
      4
      Remanded with instructions.
    
    
      
        *
         Of the District of Maryland, sitting by designation
      
    
    